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UNITED STATES DISTRICT COURT                                                        7/31/20
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

                                                                      18 Cr. 224 (AJN)
                -v.-

 ALI SADR HASHEMI NEJAD,

                                 Defendant.



                              ORDER EXONERATING BONDS

       The United States of America and the attorneys for Ali Sadr Hashemi Nejad, having

requested the return of all bond deposits made in connection with this case, and the Indictment

having been dismissed with prejudice, and as the security for the bonds are no longer required;

       IT IS THEREFORE ORDERED:

       Each of the bonds listed in Exhibit A are exonerated. The Clerk of the Court shall return

funds in the following amounts to the following individuals, plus any accrued interest, and less

any court registry fee, held by the Clerk of the Court, to be returned to the following respective

individuals, and in accordance with the Clerk’s standard operating procedures.

        1.    Cash from the corporate bank account of A&H Urban Lifestyle Investments LLC,
in the amount of approximately $220,000, to be returned to Ali Sadr Hashemi Nejad, c/o Steptoe
& Johnson LLP;

       2.      Cash in the amount of approximately $1,000,000, to be returned to

       3.      Cash in the amount of $200,000, to be returned to
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Dated: New York, New York
       July 31, 2020



                                    ______________________________________
                                    ALISON J. NATHAN
                                    UNITED STATES DISTRICT JUDGE
                                    SOUTHERN DISTRICT OF NEW YORK




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                                       EXHIBIT A
                                   SCHEDULE OF BONDS

The following eleven bonds are to be exonerated:

   1. A $20,000,000 bond co-signed by Ali Sadr, his mother                , and his two
      sisters,                             , secured by the following assets:

          a. Ali Sadr’s assets:

                  i. An Apartment located at


                  ii. Cash from the corporate bank account of A&H Urban Lifestyle
                      Investments LLC, in the amount of approximately $220,000;

                 iii. Equitable interest in business entities that own investments in pistachio
                      farms based in California;

                 iv. Equity interest in Pilatus Bank, Malta, in a manner to be jointly agreed
                     upon by the defense and the Government.

          b.                   Assets:

                  i. Cash in the amount of approximately $1,000,000;

                  ii. An Apartment located at


                 iii. An Apartment located at


          c.                   Assets:

                  i. Approximately $1,000,000 to be maintained in                      bank
                     account;

                  ii. Equitable interest in business entities based in California.

          d.                 Assets:

                  i. An Apartment located at


                  ii. An Apartment located at


                 iii. Property (vacant lot) in California;
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             iv. Equitable interest in business entities based in California.

2. A $5,000,000 bond co-signed by
   secured by:

       a. A Property located at

       b. A Property located at

       c.                  401-K account;

       d.               401-K account.

3. A $650,000 bond co-signed by                   , secured by her 401-K account.

4. A $1,000,000 bond co-signed by                  , secured by property located at


5. A $103,000 bond co-signed by                            , secured by property located at


6. A $1,400,000 bond co-signed by
           secured by property located at

7. A $347,000 bond co-signed by                           secured by property located at


8. A $2,500,000 bond co-signed by                     , secured by property located at
                                                      , and by her 401-K account.

9. A $1,000,000 bond co-signed by
           secured by cash in the amount of $200,000.

10. A $500,000 bond co-signed by                , secured by her 401-K account.

11. A $100,000 bond co-signed by                       , secured by her 401-K account.




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